                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

United States of America,                    )
                            Plaintiff,       )
                                             )
             v.                              )    No. 2:12-cr-04049-FJG-1
                                             )
Alberto Rodriguez, Jr.,                      )
                            Defendant.       )


                          ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of United States Magistrate Judge

Matt J. Whitworth (Doc. #84 filed on February 27, 2013), to which no objection has been

filed, the plea of guilty to Counts 1 and 2 of the Superseding Indictment which was filed

on January 16, 2013, is now accepted.             Defendant is adjudged guilty of such

offense(s). Sentencing will be set by subsequent order of the court.




                                                   /s/ Fernando J. Gaitan, Jr.
                                                  Fernando J. Gaitan, Jr.
                                                  Chief United States District Judge

Dated: March 19, 2013
Kansas City, Missouri




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